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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 18-cv-02328-CMA-NYW

   FRANCIS SCHAEFFER COX,

          Plaintiff,

   v.

   TERRY DODD,
   MARIA RENSEL,
   BILL RENSEL, and
   RICHARD NEFF,

          Defendants.

        AMENDED 1 RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE
                                          AND ORDER

   Magistrate Judge Nina Y. Wang

          This matter come before the court on the following motions:

          (1) Defendants Terry Dodd (“Mr. Dodd”) and Richard Neff’s (“Mr. Neff” and

   collectively, “Appearing Defendants”) Motion to Dismiss Pursuant to Fed. R. Civ. P.

   12(b)(1) and 12(b)(6) (“Motion to Dismiss”), [#33, filed April 23, 2019]; 2

          (2) Appearing Defendants’ “Joined Motion to Strike Plaintiff’s Premature Filings;

   Request for Order of Involuntary Dismissal; and Motion for Protective Order to Stay




   1
    This Amended Recommendation and Order corrects a typographical error in the court’s
   conclusion identifying Appearing Defendants’ “Joined Motion to Strike Plaintiff’s
   Premature Filings; Request for Order of Involuntary Dismissal; and Motion for Protective
   Order to Stay Discovery Until the Court’s Scheduling Conference” (“Motion to Strike”),
   [#58], which is underlined below.
   2 On July 26, 2019, Mr. Neff filed a Motion to Join Terry Dodd’s Motion to Dismiss, [#102],

   which this court granted on July 29, 2019, [#104].
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   Discovery Until the Court’s Scheduling Conference” (“Motion to Strike”), [#58, filed on

   May 30, 2019];

          (3) Plaintiff Francis Schaeffer Cox’s (“Plaintiff” or “Mr. Cox”) “Motion for Default

   Judgment as to Bill and Maria Rensel” (“Motion for Default Judgment”), [#89, filed on July

   8, 2019]; 3 and

          (4) Plaintiff’s “Motion to Assess Defendants Dodd and Neff the Costs of Formal

   Service” (“Motion to Assess Costs”), [#111, filed on August 26, 2019].

          Appearing Defendants’ Motion to Strike was filed jointly, and Plaintiff filed his

   Response on July 8, 2019. See [#87]. Appearing Defendants filed their Reply on July

   22, 2019. See [#97]. Plaintiff filed his Motion for Default Judgment on July 8, 2019, see

   [#89], and his Motion to Assess Costs on August 26, 2019, see [#111]. No Responses

   or Replies to Plaintiff’s Motions were filed.

          The court considers the Motions pursuant to 28 U.S.C. § 636(c); the Order

   Referring Case dated December 20, 2018, [#16]; and the Memoranda date April 24, 2019,

   [#35]; June 3, 2019, [#61]; and August 27, 2019, [#112]. The court concludes that oral

   argument will not materially assist in the resolution of this matter. Accordingly, upon

   review of the Motions and associated briefing, the applicable case law, and being

   otherwise fully advised, I respectfully RECOMMEND that (1) Appearing Defendants’



   3 On July 8, 2019, Plaintiff filed a Motion for Entry of Default, [#88], and a Motion for
   Default Judgment, [#89], which the presiding judge, the Honorable Christine M. Arguello,
   referred to the undersigned Magistrate Judge by Memoranda dated July 8, 2019, [#90;
   #91]. Judge Arguello later unreferred the Motion for Entry of Default, which the Clerk of
   the Court subsequently denied, [#95]. Thus, it appeared that the Motion for Default
   Judgment was rendered moot. However, in light of the Memorandum referring the Motion
   for Default Judgment that has not been unreferred, [#91], this court includes Plaintiff’s
   Motion for Default Judgment, [#89], in its Recommendation out of an abundance of
   caution.
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   Motion to Dismiss be GRANTED; (2) Appearing Defendants’ Motion to Strike be DENIED

   AS MOOT; and (3) Plaintiff’s Motion for Default Judgment be DENIED. In addition, the

   court GRANTS in part and DENIES in part Plaintiff’s Motion to Assess Costs.

                                       BACKGROUND

         The court draws the following facts from the Complaint, [#1], and presumes they

   are true for purposes of the instant Motion to Dismiss and to provide context for the

   additional pending motions. Plaintiff is currently incarcerated at the Federal Correctional

   Institution located in Terre Haute, Indiana. See generally [#1]. Mr. Cox is the sole

   principal of “Free Schaeffer Cox,” [id. at ¶ 6], which although undefined by the Complaint,

   is presumably a legal defense fund for Mr. Cox.

         Maria Rensel (“Ms. Rensel”), Bill Rensel (“Mr. Rensel” and collectively with Ms.

   Rensel, “the Rensels”), Terry Dodd, and Richard Neff (collectively, “Defendants”), were

   all board members of “Alaskans for Liberty” (“AFL”), a now-defunct Wyoming corporation.

   [Id. at ¶¶ 7-10]. Mr. Dodd was the Chairman of the AFL Board, Ms. Rensel was an officer

   of the AFL Board and the manager of the “Free Schaeffer Cox Project” (“FSC Project”),

   Mr. Rensel was a member of the AFL Board of Directors, and Mr. Neff was AFL’s Vice

   Chairman. [Id.]. At an undisclosed time, the Defendants—through AFL—created the

   FSC Project. [Id. at ¶ 11]. The Defendants represented as the mission of the FSC Project

   to raise funds for the legal defense of Mr. Cox and represented that the Defendants

   worked on behalf of Mr. Cox in accomplishing this mission. [Id. at ¶ 12].

         Mr. Cox contends that he neither provided written consent to, nor entered into a

   contractual agreement with, the Defendants to authorize the FSC Project on his behalf.

   [Id. at ¶ 6]. Nevertheless, in furtherance of the FSC Project, Defendants entered into



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   fixed term, 36-month contracts with various companies on Mr. Cox’s behalf; induced the

   same companies to conduct direct mail campaigns; and received donations to the FSC

   Project. [Id. at ¶¶ 12, 14, 22]. The Defendants then allegedly instructed the various

   companies that it contracted with (1) not to speak to Mr. Cox, and (2) not to divulge any

   information to Mr. Cox or individuals working on his behalf regarding the Defendants’

   efforts. [Id. at ¶ 13]. The donated funds were supposed to be delivered to Mr. Cox and

   to be used exclusively for Mr. Cox’s legal defense. [Id. at ¶ 16]. However, donations

   received by the FSC Project were never distributed to Mr. Cox. [Id. at ¶ 17]. Instead, the

   Defendants took possession of the funds donated for Mr. Cox’s legal defense and

   misappropriated the funds. See [id. at ¶¶ 16, 17]. Subsequently, the Defendants have

   declined to respond to Mr. Cox’s inquiries regarding the status and location of the donated

   funds. [Id. at ¶¶ 18, 19].

          Believing Defendants’ conduct to be unlawful, Plaintiff filed his pro se 4 Complaint

   on September 11, 2018. See [#1]. Mr. Cox asserts three causes of action: (1) civil

   conspiracy against all Defendants (“Count I”); (2) breach of fiduciary duty against Ms.

   Rensel (“Count II”); and (3) fraud/intentional misrepresentation against all Defendants

   (“Count III”). 5 [Id.]. On December 20, 2018, this court issued an Order to Show Cause as


   4 Because Mr. Cox proceeds pro se, this court affords his papers and filings a liberal
   construction. Haines v. Kerner, 404 U.S. 519, 520-21 (1972). But the court cannot and
   does not act as his advocate, Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991), and
   applies the same procedural rules and substantive law to Plaintiff as to a represented
   party, see Murray v. City of Tahlequah, 312 F.3d 1196, 1199 n.2 (10th Cir. 2008); Dodson
   v. Bd. of Cty. Comm’rs, 878 F. Supp. 2d 1227, 1236 (D. Colo. 2012).
   5 Articulated as “fraud/intentional misrepresentation,” [#1 at 5], this court understands
   Count III to be a single cause of action as both terms refer to the same substantive
   elements: a false representation of a material fact; the party knew such a representation
   was false; the party who the representation was made to did not know of its falsity; and
   the representation was made with an intent that it be acted upon, and results in damages.
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   to why the case should not be dismissed for lack of prosecution for failure to appear at a

   Status Conference set by the court, and ordered Mr. Cox to serve Defendants on or before

   March 20, 2019, and file the associated returns of service on April 5, 2019. [#17]. In

   response to the Order to Show Cause, Mr. Cox indicated that he had attempted to serve

   Defendants by certified mail, and that his “family has paid the US Marshals to serve each

   Defendant and Plaintiff is awaiting the outcome of this process.” [#20]. Based on

   Plaintiff’s representations, this court discharged the Order to Show Cause the following

   day. [#21].

          Mr. Cox then requested that he be permitted to serve Defendants by publication.

   [#22]. Because Plaintiff sought relief that was not provided for by statute or rule, this court

   denied his request without prejudice. [#25]. Then, on March 14, 2019, Mr. Dodd filed an

   Answer to the Complaint. [#26]. The court then granted Mr. Cox’s Motion for Extension

   of Time to serve the remaining three Defendants, up to and including May 20, 2019. [#29,

   #31]. Mr. Dodd filed the instant Motion to Dismiss on April 23, 2019. [#33]. Then, on

   May 20, 2019, Mr. Neff filed an Answer to the Complaint. [#42]. To date, there is no

   indication on the record that the Rensels have been properly served.

          Plaintiff sought and received an extension of time to respond to the Motion, see

   [#59], and ultimately filed a Response on June 24, 2019, [#75]. On July 26, 2019, Mr.

   Neff filed a “Motion to Join Terry Dodd’s Motion to Dismiss” (“Motion to Join”), [#102], and

   the court subsequently granted Mr. Neff’s Motion to Join on July 29, 2019, [#104].

   Appearing Defendants did not file a Reply.



   Compare Wood v. Houghton Mifflin Harcourt Publ’g. Co., 569 F.Supp.2d 1135 (D. Colo.
   2008) with Shaw v. 17 West Mill St., LLC, 307 P.3d 1046, 1050 n.5 (Colo. 2013).
   Accordingly, this court refers to Count III as one for fraud.
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            Also before the court is Messrs. Dodd and Neff’s “Joined Motion to Strike Plaintiff’s

   Premature Filing; Request for Order of Involuntary Dismissal; and Motion for Protective

   Order to Stay Discovery until the Scheduling Conference” (“Motion to Strike”). [#58, filed

   on May 30, 2019]. The Motion to Strike seeks to strike: (1) Plaintiff’s ex parte “filings” and

   affidavit, [#37; #38; #39; #40]; (2) Plaintiff’s “Notice of Exemption” [#41]; (3) non-party

   Elizabeth A. Sarver’s “Statement on Behalf of the Plaintiff”, [#44]; (4) Plaintiff’s Motion for

   Thirty-One Day Extension of Time to Reply to Defendant’s Motion to Dismiss, [#54]; (5)

   Plaintiff’s “Ex Parte Motion for a Temporary Restraining Order”, [#47]; (6) Plaintiff’s “Ex

   Parte Motion for Declaratory Judgement [sic]”, [#48]; (7) Plaintiff’s “Motion to Redact FBI

   Documents and for Other Appropriate Relief”, [#49]; and (8) Plaintiff’s Complaint because

   the Rensel Defendants have not been served. The court has previously ruled on or

   stricken some of the documents challenged by Appearing Defendants’ Motion, see [#44;

   #47; #48; #49; #59], and therefore will focus on only the unresolved arguments raised in

   Appearing Defendants’ Motion to Strike. The Motion to Strike also requests the court to

   order involuntary dismissal of Plaintiff’s case and moves to stay discovery until the

   Scheduling Conference. See [#58]. Plaintiff filed his Response to the Motion to Strike on

   July 8, 2019, see [#87], and Appearing Defendants filed their Reply on July 22, 2019, see

   [#97].

            On July 8, 2019, Plaintiff filed a “Motion for Default Judgment as to Defendants Bill

   Rensel and Maria Rensel”. [#89]. Plaintiff’s Motion for Default Judgment seeks an entry

   of default judgment against the Rensels. [Id.]. On August 26, 2019, Plaintiff filed a

   “Motion to Assess Defendants Dodd and Neff the Costs of Formal Service”. See [#111].

   No Responses or Replies to either of Plaintiff’s Motions were filed.



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         The Motion to Dismiss, Motion to Strike, Motion for Default Judgment, and Motion

   to Assess Costs are now ripe for disposition and I consider each Motion and the Parties’

   respective arguments in turn below.

                                    MOTION TO DISMISS

   I.    Legal Standards

         A.     Subject Matter Jurisdiction Under Rule 12(b)(1)

         Federal courts are courts of limited jurisdiction and, as such, “are duty bound to

   examine facts and law in every lawsuit before them to ensure that they possess subject

   matter jurisdiction.” The Wilderness Soc. v. Kane Cty., Utah, 632 F.3d 1162, 1179 n.3

   (10th Cir. 2011) (Gorsuch, J., concurring). Indeed, courts have an independent obligation

   to determine whether subject matter jurisdiction exists, even in the absence of a challenge

   from any party. Image Software, Inc. v. Reynolds & Reynolds, Co., 459 F.3d 1044, 1048

   (10th Cir. 2006) (citing Arbaugh v. Y & H Corp., 546 U.S. 500 (2006)).

         Pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure, a party may

   bring either a facial or factual attack on subject matter jurisdiction, and a court must

   dismiss a complaint if it lacks subject matter jurisdiction. See generally Pueblo of Jemez

   v. United States, 790 F.3d 1143, 1147 n.4 (10th Cir. 2015). For a facial attack, the court

   takes the allegations in the Complaint as true, but when reviewing a factual attack the

   court may not presume the truthfulness of the Complaint’s factual allegations and may

   consider affidavits or other documents to resolve jurisdictional facts. Holt v. United

   States, 46 F.3d 1000, 1002–03 (10th Cir. 1995). The burden of establishing jurisdiction

   rests with the party asserting jurisdiction. Basso v. Utah Power & Light Co., 495 F.2d

   906, 909 (10th Cir. 1974).



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          B.         Failure to State a Claim Under Rule 12(b)(6)

          A court may dismiss a complaint for “failure to state a claim upon which relief can

   be granted” under Rule 12(b)(6) of the Federal Rules of Civil Procedure. Fed. R. Civ. P.

   12(b)(6). In deciding a motion under Rule 12(b)(6), the court must “accept as true all well-

   pleaded factual allegations . . . and view these allegations in the light most favorable to

   the plaintiff.”    Casanova v. Ulibarri, 595 F.3d 1120, 1124 (10th Cir. 2010) (internal

   quotation marks omitted). A plaintiff may not rely on mere labels or conclusions, “and a

   formulaic recitation of the elements of a cause of action will not do.” Bell Atlantic Corp. v.

   Twombly, 550 U.S. 544, 555 (2007); see also Hall v. Bellmon, 935 F.2d 1106, 1110 (10th

   Cir. 1991) (holding that even pro se litigants cannot rely on conclusory, unsubstantiated

   allegations to survive a 12(b)(6) motion). Rather, “a complaint must contain sufficient

   factual matter, accepted as true, to state a claim to relief that is plausible on its face.”

   Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009); see also Robbins v. Oklahoma, 519 F.3d

   1242, 1247 (10th Cir. 2008) (explaining that plausibility refers “to the scope of the

   allegations in a complaint,” and that the allegations must be sufficient to nudge a plaintiff’s

   claim(s) “across the line from conceivable to plausible.”). When considering a 12(b)(6)

   motion, courts “must consider the complaint in its entirety as well as other sources courts

   ordinarily examine when ruling on 12(b)(6) motions to dismiss, in particular, documents

   incorporated into the complaint by reference[.]” Tellabs, Inc. v. Makor Issues & Rights,

   Ltd., 551 U.S. 308, 322 (2007). See also TMJ Implants, Inc. v. Aetna, Inc., 498 F.3d 1175,

   1180 (10th Cir. 2007).

          C.         Pleading Special Matters Under Rule 9(b)




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          When a plaintiff alleges fraud or mistake, Federal Rule of Civil Procedure 9(b)

   requires that the plaintiff “state with particularity the circumstances constituting fraud or

   mistake.” Fed. R. Civ. P. 9(b). The Rule’s purpose is “to afford [a] defendant fair notice”

   of a plaintiff’s claims and the factual grounds supporting those claims, George v. Urban

   Settlement Servs., 833 F.3d 1242, 1255 (10th Cir. 2016) (quoting Schwartz v. Celestial

   Seasonings, Inc., 124 F.3d 1246, 1252 (10th Cir. 1997)), such that the defendant is

   provided the “minimum degree of detail necessary to begin a competent defense.”

   Fulhum v. Embarq Corp., 785 F.3d 395, 416 (10th Cir. 2015). Rule 9(b) does not require

   any particularity in connection with an averment of intent, knowledge, or condition of

   mind—rather, it simply refers to only the requirement that a plaintiff identify the

   circumstances constituting fraud with sufficient specificity. Schwartz, 124 F.3d at 1252.

          Put simply, Rule 9(b) requires that a complaint “set forth the time, place, and

   contents of the false representation, the identity of the party making the false statements

   and the consequences thereof.” Id. (quoting In re Edmonds, 924 F.2d 176, 180 (10th Cir.

   1991)). When a plaintiff brings a claim against multiple defendants, Rule 9(b) obliges a

   plaintiff to specify the manner in which each defendant participated. Brooks v. Bank of

   Boulder, 891 F. Supp. 1469. 1477 (D. Colo. 1995); see also Lillard v. Stockton, 267

   F.Supp.2d 1081, 1094 (D. Kan. 2003) (“[W]here fraud is alleged against multiple

   defendants, blanket allegations of fraud couched in language such as ‘by the defendants’

   are insufficient. Instead, the specifics of the alleged fraudulent activity of each defendant

   must be set forth.”).

          Rule 9(b) requires a plaintiff to identify the person or persons allegedly responsible

   for making the misstatement, but it does not require the plaintiff to particularize the



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    reasons why the plaintiff believes the alleged speaker to be responsible for the statement.

    SEC v. Nacchio, 438 F. Supp. 2d 1266, 1278 (D. Colo. 2006). A plaintiff may plead

    collectively when the defendants participated in joint misstatements and the entities are

    indistinguishable from an outsider’s perspective in making the identified statements.

    Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007) (“[T]here is absolutely no

    requirement that where several defendants are sued in connection with an alleged

    fraudulent scheme, the complaint must identify false statements made by each and every

    defendant.”).

    II.    Analysis

           Appearing Defendants move to dismiss Count I for civil conspiracy and Count III

    for fraud. [#33]. First, they argue that the court lacks subject matter jurisdiction over

    Plaintiff’s claims. [Id. at 6, 7]. Second, Appearing Defendants argue that Plaintiff’s

    Complaint fails to state a claim for civil conspiracy. [Id.]. Finally, they contend that

    Plaintiff’s Complaint fails to meet the heightened pleading requirements for claims

    involving fraud or misrepresentation. [Id.]. I consider each in turn.

           Because Mr. Dodd included exhibits to the Motion to Dismiss, the court directed

    the Parties to include in their respective Response and Reply to the Motion to Dismiss

    any arguments they wished to raise regarding the conversion of the Motion to Dismiss to

    one for summary judgment, and to include any additional evidence as necessary. [#36].

    Mr. Cox provided a limited argument related to summary judgment conversion in his

    Response [#75], and Appearing Defendants did not file a Reply. Upon review, the court

    limits its consideration of the Motion to Dismiss to the face of the Complaint, and




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    accordingly, does not recommend the conversion of the Motion to Dismiss to one for

    summary judgment.

           A.      Subject Matter Jurisdiction

           Appearing Defendants argue that this court lacks subject matter jurisdiction over

    Mr. Cox’s claims because (a) “Plaintiff’s Complaint . . . does not state a cause of action

    for Civil Conspiracy”, and (b) “Plaintiff has not and cannot establish that Defendant[s]

    Dodd    [and      Neff]   committed   or    conspired   to   commit     Fraud   or   Intentional

    Misrepresentation.” [#33 at 6, 7].         Here, however, Mr. Cox does not assert federal

    question jurisdiction as the basis for the court’s subject matter jurisdiction. Instead, the

    Complaint alleges that the amount in controversy exceeds $75,000 and that all parties

    are citizens of different states—and thus asserts this court’s diversity jurisdiction. See

    generally [#1].

           Based on this court’s review, Appearing Defendants may be conflating Rules

    12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure.            Defendants do not

    challenge Plaintiff’s assertion of diversity jurisdiction.     [#33].    Therefore, this court

    concludes that the Appearing Defendants have failed to carry their burden that dismissal

    pursuant to Rule 12(b)(1) for lack of subject matter jurisdiction is warranted. The court

    now turns to whether Plaintiff pled a cognizable claim for either civil conspiracy or fraud.

           B.      Civil Conspiracy

           To state a claim for civil conspiracy under Colorado law, a plaintiff must allege:

    “‘(1) two or more persons . . . ; (2) an object to be accomplished; (3) a meeting of the

    minds on the object or course of action; (4) one or more unlawful overt acts; and (5)

    damages as the proximate result thereof.’” Wagner v. CHER, LLC, No. 18-cv-01007-



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    STV, 2018 WL 6046432, at *5 (D. Colo. Nov. 19, 2018) (quoting In re Qwest Commc’ns

    Int’l Sec. Litig., 387 F.Supp.2d 1130, 1153 (D. Colo. 2005)). “Conclusory allegations

    merely reciting the elements of the claim, however, are insufficient.” Id. “Rather, Plaintiff

    ‘must allege specific facts showing agreement and concerted action among the

    defendants.’” Id. (quoting McDaniel v. Denver Lending Group, Inc., No. 08-cv-02617-

    PAB-KLM, 2009 WL 1873581, at *12 (D. Colo. June 30, 2009) (emphasis in original)). In

    addition, because Mr. Cox’s civil conspiracy claim also sounds in fraud, it must also be

    pled under the standard of Rule 9(b). In re Qwest Commc'ns Int'l, Inc. Sec. Litig., 387 F.

    Supp. 2d 1130, 1153 (D. Colo. 2005).

           In support of the civil conspiracy claim, the Complaint alleges that the Defendants

    “formed an agreement among themselves to create a fraudulent [FSC Project] and to

    seek donations from supporters of the Plaintiff,” and “further agreed, in violation of any

    agreement with the Plaintiff, to use the donated funds for impermissible purposes[.]” [#1

    at ¶¶ 20, 21]. “At all times,” according to the Complaint, “the Defendants acted in

    furtherance of a common scheme or plan to defraud the Plaintiff and his supporters.” [Id.

    at ¶ 23].

           However, these allegations do not satisfy Mr. Cox’s burden to plead his claims with

    particularity, such as identifying when or where the agreement was formed. Twombly,

    550 U.S. at 557 (“[A] conclusory allegation of an agreement at some unidentified point

    does not supply facts adequate to show illegality.”). Plaintiff also fails to allege “the factual

    basis for h[is] allegation that an agreement between all of the Defendants existed.”

    McDaniel v. Denver Lending Group, Inc., No. 08-cv-02617-PAB-KLM, 2009 WL 1873581,

    at * 12 (D. Colo. June 30, 2009). Nor does Mr. Cox include factual allegations regarding



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    what specific role Mr. Dodd or Mr. Neff played in the alleged conspiracy; generalized

    allegations of the “Defendants’” conduct are insufficient. See Brooks, 891 F. Supp. at

    1477 (D. Colo. 1995).       These allegations are insufficient to establish the requisite

    “meeting of the minds” of an agreement.             Plaintiff’s bare allegation that all of the

    Defendants “formed an agreement among themselves,” without more, is insufficient. See

    id.

           Accordingly, I conclude that Plaintiff has failed to state a cognizable claim for civil

    conspiracy against Appearing Defendants.

           C.     Fraud

           As discussed above, to state a claim for fraud under Colorado law, Plaintiff must

    allege the following elements: (1) a false representation of a material fact; (2) the party

    knew such a representation was false; (3) the party who the representation was made to

    did not know of its falsity; and (4) the representation was made with an intent that it be

    acted upon, and results in damages. Wood, 569 F.Supp.2d at 1140.

           Without specifying who made what statement, the Complaint alleges that all of the

    Defendants “made false representations to the Plaintiff, and to others on behalf of the

    Plaintiff” regarding all of the Defendants’ (1) ability to “raise funds for the Plaintiff’s legal

    defense,” (2) “purpose in entering into an agreement with others on behalf of the Plaintiff,”

    (3) “integrity[,]” and (4) “background[.]” [#1 at ¶ 27]. The Complaint also alleges that the

    “Defendants made these false statements with full knowledge of their false nature and

    with the intent to deceive the Plaintiff,” and alleges that “Plaintiff took action in reliance on

    those statements [by] engaging the Defendants, and having funds deposited with the

    Defendants.” [Id. at ¶¶ 30, 31].



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           But “Rule 9(b) requires that allegations of fraud be pled with particularity—‘the

    time, place, and contents of the false representation, the identity of the party making the

    false statements and the consequences thereof.’” Insight Global, 2018 WL 2092486, at

    *2 (quoting United States ex rel. Sikkenga v. Regence Bluecross Blueshield of Utah, 472

    F.3d 702, 726-27 (10th Cir. 2006)). And nowhere in the Complaint does Plaintiff allude

    to the time or place of the alleged misrepresentations. See Lynch v. Olympus America,

    Inc., No. 18-cv-00512-NYW, 2019 WL 2372841, at *16 (D. Colo. June 5, 2019) (“By

    specifically alluding to the time and place of the misrepresentations, Plaintiff seems to

    have cured the defects . . . [causing her previous Complaint to fall] short of the applicable

    standards of Rule 9(b).”). Therefore, I conclude that the Complaint falls short of stating a

    claim for fraud against Messrs. Dodd and Neff.

           Accordingly, I respectfully RECOMMEND that Appearing Defendants’ Motion to

    Dismiss be GRANTED.

                                       MOTION TO STRIKE

           As discussed in detail above, Appearing Defendants’ Motion to Strike makes three

    primary requests of the court. First, Appearing Defendants move to strike a variety of

    items on the docket. Second, they request an order of involuntary dismissal because

    Plaintiff has failed to prosecute. Finally, Appearing Defendants move to stay discovery

    until the Parties appear before the court for a scheduling conference. 6 In light of the

    court’s Recommendation that Plaintiff’s claims for civil conspiracy and fraudulent

    misrepresentation be dismissed as insufficiently pled, and the fact that this court had yet



    6 Because the Motion to Strike includes a request for involuntary dismissal, this court
    proceeds by Recommendation rather than Order despite the Appearing Defendants’
    other, non-dispositive requests.
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    to set a Scheduling Conference due to these preliminary issues, the court respectfully

    RECOMMENDS that Appearing Defendants’ “Joined Motion to Strike Plaintiff’s

    Premature Filing; Request for Order of Involuntary Dismissal; and Motion for Protective

    Order to Stay Discovery Until the Scheduling Conference” be DENIED as moot.


                              MOTION FOR DEFAULT JUDGMENT

             Plaintiff filed a Motion for Default Judgment against only the Rensel Defendants.

    See [#89]. For the following reasons, the court recommends that Plaintiff’s Motion for

    Default Judgment be denied.

       I.       Legal Standard

             Default may be entered against a party who has failed to plead or otherwise

    defend. Fed. R. Civ. P. 55(a). “Entry of default by the clerk is a necessary prerequisite

    that must be performed before a district court is permitted to issue a default judgment.”

    Watkins v. Donnelly, 551 Fed. App’x 953, 958 (10th Cir. 2014). After default is entered,

    pursuant to Rule 55(b)(1), default judgment may be entered by the Clerk of Court if the

    claim is for “a sum certain.” See Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. Tan Facility

    Maint., Inc., No. 18-cv-00137-RPM-STV, 2018 WL 4383039, at *2 (D. Colo. June 12,

    2018). There is no right to a default judgment, and whether to enter a default judgment is

    within the discretion of the court. Bixler v. Foster, 596 F.3d 751, 762 (10th Cir. 2010)

    (citing Nishimatsu Constr. Co. v. Houston Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975)

    (“[A] defendant’s default does not in itself warrant the court in entering a default

    judgment.”)).

       II.      Analysis




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           Plaintiff moves the court to enter a default judgment against the Rensels because

    the “Clerk of Court has already entered the default of Bill and Maria Rensel as a

    consequence of their failure to timely plead or otherwise respond to this action.” [#89].

    But the Clerk has done no such thing—there is no entry of default against the Rensel

    Defendants. See, e.g., [#106 (Plaintiff’s “Renewed Request to Enter Default and Default

    Judgment as to Bill and Maria Rensel Only”), filed on July 29, 2019; #113 (Plaintiff’s

    “Motion to Compel the Clerk to Enter Default and Default Judgment as to Bill and Maria

    Rensel Only”), filed on August 26, 2019]. Accordingly, the court finds that Plaintiff has

    failed to obtain the prerequisite entry of default to warrant a default judgment. Therefore,

    I respectfully RECOMMEND that Plaintiff’s Motion for Default Judgment be DENIED.

                           MOTION TO ASSESS COSTS OF SERVICE

    I.     Legal Standard

           “Federal Rule of Civil Procedure 4(d)(1) states that a plaintiff may request ‘an

    individual . . . that is subject to service under Rule 4(e), (f), or (h)’ to waive service of a

    summons.” Shell v. Am. Family Rights Ass’n, No. 09-cv-00309-MSK-KMT, 2009 WL

    3837890, at *1 (D. Colo. Nov. 13, 2009). “The request must be in writing and addressed

    to the individual defendant, must name the court where the complaint was filed, and must

    contain ‘a copy of the complaint, two copies of a waiver form, and a prepaid means for

    returning the form.’” Id. (quoting Fed. R. Civ. P. 4(d)(1)(A)-(C)). “The request must also

    provide the date when it was sent and notice to the defendant ‘of the consequences of

    waiving and not waiving service.’” Id. “In addition, the request must ‘give the defendant

    a reasonable time of at least 30 days’ to waive service by returning the waiver.” Id.

    (quoting Fed. R. Civ. P. 4(d)(1)(F)).



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          “Federal Rule of Civil Procedure 4(d)[] allows the court to assess the costs

    subsequently incurred in effecting service under formal methods of serving process when

    a defendant refuses a request to waive such service.” Wesley v. Don Stein Buick, Inc.,

    996 F. Supp. 1299, 1311 (D. Kan. 1998). See also Costello v. Feaman, 2010 WL

    2985660 (E.D. Mo. 2010) (plaintiff may have relief under Rule 4(d)(2) prior to final

    judgment). An important purpose of the rule is to impose the costs of formal process on

    defendants who do not show good cause for refusing waiver. However, the procedural

    requirements of Rule 4(d)(2) are a condition precedent to a demand for costs for refusal

    to waive service. Shell, 2009 WL 3837890, at *1.

    II.   Analysis

          Plaintiff moves the court to assess Messrs. Dodd and Neff the costs of formal

    service of the Summons and Complaint pursuant to “Federal Rule of Civil Procedure

    4(b)(2)(A)”. [#111]. The court assumes that Plaintiff intended to argue his Motion under

    Federal Rule of Civil Procedure 4(d)(2)(A), particularly given Mr. Cox’s reference to that

    Rule on his “Notice of Lawsuit and Request for Waiver of Service of Summons “ See e.g.

    [#111-1 at 3]. Plaintiff argues that both Appearing Defendants returned to Plaintiff their

    Waiver of Service of Summons forms unexecuted and without good cause. [#111].

          It is not clear from the record that Plaintiff fully complied with the requirements of

    Rule 4(d)(1) as to the Appearing Defendants. Mr. Cox represents that both Mr. Dodd and

    Mr. Neff “returned to Plaintiff their Waiver of Service of Summons forms unexecuted,”

    referring to Exhibit C. [Id. at 1]. But Exhibit C reveals that the letter to Mr. Dodd was

    “Return to Sender/Not Deliverable as Addressed/Unable to Forward.” [#111-1 at 14].

    Despite the fact that the envelope was addressed to the same address that Mr. Dodd has



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    used in this action, compare [#111-1 at 14] with [#26 at 2], there is no indication that Mr.

    Dodd, rather than the United States Postal Service, returned the correspondence to Mr.

    Cox. As to Mr. Neff, though the attached exhibit does not reflect two copies of the “Waiver

    of Service of Summons forms” or the Complaint, Mr. Cox states, under penalty of perjury,

    that he sent a copy of the Complaint, two copies of the waiver form, and prepaid postage

    for means of returning the form. See [#111 at ¶ 2; #111-1 at 3-12]; Shell, 2009 WL

    3837890, at *2 (observing that costs under Rule 4(d) may be warranted even when a

    plaintiff does not strictly comply with all the technical requirements of the Rule, so long as

    there is substantial compliance). He also certified the date that the request for waiver

    was sent to Mr. Neff (October 30, 2018), and included a notice to Mr. Neff of the

    consequences of not waiving service. [#111-1 at 4, 6]. On November 23, 2018, Plaintiff

    received Mr. Neff’s unexecuted waiver form when the summons and complaint were

    “return[ed] to sender” after being “refused”. [Id. at 15]. Formal service was attempted on

    Mr. Neff on December 18, 21, and 27, 2019, [id. at 20], and ultimately perfected on May

    2, 2019, [id. at 21]. Because Mr. Neff did not respond to Motion to Assess Costs of

    Service and the time to do so has lapsed, Mr. Cox’s assertions regarding his efforts to

    secure waiver of service from Mr. Neff stand unrebutted and Mr. Neff has failed to

    establish good cause for failing to comply with the request for waiver of service. Cf.

    Quilling v. Shaw, No. 3-00-CV-1405-M, 2001 WL 611147, at *2 (N.D. Tex. June 1, 2001)

    (holding that “[n]one of these defendants have responded to the motion or controverted

    the allegations made by the Receiver. As a result, the Court finds that [the defendants]

    have failed to establish good cause for failing to comply with the request for waiver of

    service.”).



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          While Plaintiff argues he incurred expenses of $175.00 to formally serve Mr. Neff

    [#111], the “Process Receipt and Return” provided that reflects the costs of Mr. Neff’s

    service shows a total cost of $130.00 (two times $65.00) but it is not clear that the

    payment to Hollister Process Service of $45.00 is associated with Mr. Neff. [#111-1 at

    20-22]. Therefore, this court will not include that fee in its award. See Shell, 2009 WL

    3837890 at *4 (denying in part plaintiff’s request for costs pursuant to Rule 4(d) upon

    finding that the documentation was lacking). Accordingly, the court respectfully ORDERS

    that Plaintiff’s Motion to Assess Costs be GRANTED in part as to $130.00 – the costs

    associated with the various attempts on formal service by the United States Marshals of

    Mr. Neff, and DENIED without prejudice as to the remainder of the relief requested by

    Mr. Cox.

                                        CONCLUSION

          For the reasons stated herein, I respectfully RECOMMEND that:

          (1)    Defendants Terry Dodd and Richard Neff’s Motion to Dismiss Plaintiff’s

                 Complaint Under Fed. R. Civ. P. 12(b)(1) and 12(b)(6), [#33], be GRANTED

                 and Count I and Count III of the Complaint be DISMISSED without

                 prejudice as to Defendant Terry Dodd and Defendant Richard Neff; and

          (2)    Defendants Terry Dodd and Richard Neff’s “Joined Motion to Strike

                 Plaintiff’s Premature Filings; Request for Order of Involuntary Dismissal;

                 and Motion for Protective Order to Stay Discovery Until the Court’s

                 Scheduling Conference”, [#58], be DENIED as moot; and




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           (3)     Plaintiff Francis Schaeffer Cox’s Motion for Default Judgment as to Bill and

                   Maria Rensel, [#89], be DENIED. 7

           In addition, it is ORDERED that:

           (4)     Plaintiff Francis Schaeffer Cox’s Motion to Assess the Costs of Formal

                   Service, [#111], be GRANTED in part and DENIED in part; and

           (5)     Defendant Richard Neff shall PAY the costs of service ($130.00) to Plaintiff

                   within thirty (30) days of this Order.


    DATED: October 30, 2019                             BY THE COURT:


                                                        _________________________
                                                        Nina Y. Wang
                                                        United States Magistrate Judge




    7 Within fourteen days after service of a copy of the Recommendation, any party may
    serve and file written objections to the Magistrate Judge’s proposed findings and
    recommendations with the Clerk of the United States District Court for the District of
    Colorado. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); In re Griego, 64 F.3d 580, 583
    (10th Cir. 1995). A general objection that does not put the District Court on notice of the
    basis for the objection will not preserve the objection for de novo review. “[A] party’s
    objections to the magistrate judge’s report and recommendation must be both timely and
    specific to preserve an issue for de novo review by the district court or for appellate
    review.” United States v. One Parcel of Real Property Known As 2121 East 30th Street,
    Tulsa, Oklahoma, 73 F.3d 1057, 1060 (10th Cir. 1996). Failure to make timely objections
    may bar de novo review by the District Judge of the Magistrate Judge’s proposed findings
    and recommendations and will result in a waiver of the right to appeal from a judgment of
    the district court based on the proposed findings and recommendations of the magistrate
    judge. See Vega v. Suthers, 195 F.3d 573, 579-80 (10th Cir. 1999) (District Court’s
    decision to review a Magistrate Judge’s recommendation de novo despite the lack of an
    objection does not preclude application of the “firm waiver rule”); Int’l Surplus Lines Ins.
    Co. v. Wyoming Coal Refining Sys., Inc., 52 F.3d 901, 904 (10th Cir. 1995) (by failing to
    object to certain portions of the Magistrate Judge’s order, cross-claimant had waived its
    right to appeal those portions of the ruling); Ayala v. United States, 980 F.2d 1342, 1352
    (10th Cir. 1992) (by their failure to file objections, plaintiffs waived their right to appeal the
    Magistrate Judge’s ruling). But see Morales-Fernandez v. INS, 418 F.3d 1116, 1122 (10th
    Cir. 2005) (firm waiver rule does not apply when the interests of justice require review).
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